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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
             Plaintiff,                     )
                                            )    Civil Action No.     3:23-cv-01232
             v.                             )
                                            )
 AMERIS BANK,                               )
                                            )
             Defendant.                     )
                                            )

                                 CONSENT ORDER

   I.   INTRODUCTION

        The Parties jointly submit this Consent Order for approval and entry by the

 Court. The Order resolves all claims of the United States of America (“United

 States”) simultaneously filed in a Complaint, alleging that Ameris Bank (“Ameris”

 or “the Bank”) engaged in a pattern or practice of redlining in violation of the Fair

 Housing Act (“FHA”), 42 U.S.C. §§ 3601–3619, the Equal Credit Opportunity Act

 (“ECOA”), 15 U.S.C. §§ 1691–1691f, and Regulation B, 12 C.F.R. § 1002.1 et seq.,

 by discriminating on the basis of race, color, and national origin. Specifically, the

 United States alleges that Ameris engaged in redlining by avoiding providing home

 loans and other mortgage services in majority-Black and Hispanic census tracts in

 the Bank’s self- designated assessment area in Jacksonville, Florida (“Jacksonville

 assessment area”) and engaged in discriminatory conduct that would discourage

 mortgage applications from prospective applicants who are residents of, or seeking

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 credit in, majority-Black and Hispanic census tracts in the Jacksonville assessment

 area. The Bank denies the allegations in the Complaint except that, for the

 purposes of this Consent Order, the Bank admits facts necessary to establish this

 Court’s jurisdiction over it and over the subject matter of this action. The Bank

 maintains that it was in compliance with applicable law at all times, but seeks to

 resolve this matter in order to avoid prolonged litigation.

        The Court has jurisdiction over the Parties and subject matter of this action.

 There have been no factual findings or adjudication in this case. The Parties enter

 into this Consent Order to voluntarily resolve all claims arising from the conduct

 alleged in the Complaint. Entry of this Consent Order is in the public interest. The

 Parties agree that the full implementation of the terms in this Consent Order will

 provide a resolution to the claims asserted in the Complaint in a manner consistent

 with Ameris’ legitimate business interests.

  II.   BACKGROUND

        Ameris is a state-chartered financial institution headquartered in Atlanta,

 Georgia. Ameris offers commercial, consumer, and mortgage banking services.

 Ameris currently operates 164 full-service branches and 32 loan production offices

 across nine states, primarily in the Southeast. The Bank currently operates 18

 branches in the Jacksonville assessment area. As of December 31, 2022, Ameris

 had total assets of approximately $25 billion.




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       On January 18, 2022, the United States notified Ameris that it was opening an

investigation focused on the Jacksonville, Florida metropolitan area into whether

Ameris had engaged in lending discrimination in violation of the FHA and ECOA.

After conducting its investigation and reviewing the information provided by the

Bank, the United States contends that, from 2016 through at least 2021, Ameris, in

the Jacksonville assessment area, avoided serving the credit needs of borrowers in

majority-Black and Hispanic census tracts and discouraged borrowers in majority-

Black and Hispanic census tracts from obtaining mortgage loans, while acting to serve

the credit needs for borrowers in majority-white census tracts. The Bank denies the

allegations that it engaged in redlining.

III.   TERMS OF THE ORDER

       1.    For purposes of this Consent Order:

                 a. Ameris’ “Jacksonville assessment area” consists of four counties

                    in Florida: Duval, Clay, St. Johns, and Baker.

                 b. A “majority-Black and Hispanic” census tract is one where more

                    than 50 percent of the residents are identified as either “Black or

                    African American” or “Hispanic or Latino” by the United States

                    Census Bureau.

                 c. A “majority-white” census tract is one where more than 50

                    percent of the residents are identified as “non-Hispanic white” by

                    the United States Census Bureau.



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                 d. The “Effective Date” is the date that this Consent Order is

                    entered by the Court.

A. Lending Practices

      2.     Ameris, including all of its officers, agents, servants, employees, and all

other persons in active concert or participation with them who have actual notice of

this Consent Order, assignees, and successors in interest, is hereby enjoined from

engaging in any act or practice that discriminates on the basis of race, color, or

national origin that violates the FHA in any aspect of a residential real estate-related

transaction, or violates ECOA and Regulation B in any aspect of a credit transaction.

B. Fair Lending Compliance

            i.      Maintenance of Committee and Policy

      3.     In 2022, Ameris established a Fair Lending Committee: a senior-

executive-level committee that meets at least quarterly to provide management

direction, oversight, and accountability on fair lending issues and to develop action

plans for the Bank’s markets with increased risks. For the term of this Consent Order,

Ameris will maintain its Fair Lending Committee at the senior-executive level.

      4.     In 2021, Ameris adopted a Fair Lending Policy (integrating prior-

established stand-alone FHA and ECOA policies). For the term of this Consent

Order, Ameris will maintain the Fair Lending Policy, subject to any changes

proposed in Ameris’ Fair Lending Plan required by Section III.B.ii and non-objected

to by the United States. For the term of this Consent Order, Ameris will notify the

United States
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in writing of any material changes to Ameris’ Fair Lending Policy. All material changes

are subject to non-objection by the United States.

           ii.      Compliance Consultant and Fair Lending Plan

      5.     Within 120 days of the Effective Date, the Bank will submit to the

United States a detailed evaluation of the Bank’s fair lending program as it relates to

fair lending obligations and lending in majority-Black and Hispanic census tracts

across its markets. At a minimum, the evaluation will include: (1) a review and

recommended revisions, as necessary, of the Bank’s fair lending policies and

practices; (2) an analysis of the Bank’s policies and practices related to the location of

branches, including the selection of locations and consolidation or closure of branch

locations; (3) an analysis of loan officers’ solicitation of applications, outreach,

training, oversight/monitoring, and compensation; (4) an analysis of marketing and

advertising; and (5) an analysis of existing fair lending compliance monitoring,

including Ameris’ formal process for ongoing statistical monitoring of mortgage

underwriting, pricing, and redlining risk and, if increased risks have been identified,

the process for formal reporting, corrective action, and remediation of those risks.

      6.     The fair lending program evaluation will be conducted by an

independent, qualified third-party consultant selected by the Bank, subject to non-

objection by the United States. Ameris will bear all costs associated with the

consultant. Within 60 days of the Effective Date, the Bank will submit the

qualifications of the third-party consultant to the United States. If the United States



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objects to the selected third-party consultant, within 30 days of the United States’

objection, Ameris will identify and propose a new third-party consultant and submit

their qualifications to the United States for non-objection.

      7.     Within 180 days of the Effective Date, the Bank will submit a Fair

Lending Plan to the United States for non-objection. The Fair Lending Plan will

explain which of the consultant’s recommendations the Bank will adopt, when and

how it will adopt and implement them, and identify the employee(s) responsible for

implementation. If the Bank declines to adopt or implement a recommendation, the

report will include an explanation of the decision.

      8.      If the United States objects to any portion of Ameris’ Fair Lending

Plan, Ameris will make revisions and resubmit its proposal within 30 days of

receiving the objection. The Bank will begin implementing its Fair Lending Plan

within 30 days of receiving approval from the United States or as soon as practicable

in view of other regulatory considerations.

      9.     For the term of this Order, Ameris will notify the United States in writing

of any material changes to Ameris’ Fair Lending Plan. All material changes are

subject to non-objection by the United States.

C. Fair Lending Training

      10.    Within 60 days of the Effective Date, Ameris will provide a copy of the

Complaint and Consent Order in this matter to senior management with fair lending

and marketing oversight and all employees located in, or serving, the Jacksonville



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assessment area with substantive involvement in mortgage lending, marketing, fair

lending or Community Reinvestment Act (“CRA”) compliance, or who have

management responsibility over such employees (collectively, “the Relevant Bank

Staff”) as well as all members of the Board of Directors (“Board Members”).

      11.     Ameris will provide an opportunity for the Relevant Bank Staff and

Board Members to ask any questions concerning the Complaint and Consent Order,

and the Bank will provide answers. Ameris will implement a system for each

individual to acknowledge that they received a copy of this Complaint and Consent

Order and had the opportunity to ask questions.

      12.     Ameris will continue to provide annual training to the Relevant Bank

Staff on Ameris’ obligations under ECOA, Regulation B, and the FHA. Ameris has

selected an independent, qualified third-party trainer to whom the United States does

not object.

      13.     Within 60 days of the Effective Date, and annually for the term of this

Consent Order, Ameris will also provide supplemental fair lending training(s),

including a segment on redlining in particular, and training(s) on Ameris’ obligations

under this Consent Order to Relevant Bank Staff and Board Members. These

training(s) will be live, virtual, and interactive and will be provided by Ameris’

Director of Regulatory Compliance. Ameris will implement a system for each

individual to acknowledge that they completed the fair lending training(s). Within 45




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days of the Effective Date, Ameris will submit an updated training curriculum and

materials to the United States for non-objection.

      14.    Within 75 days of the Effective Date, Ameris will provide a report to the

United States that includes the individual acknowledgements of Relevant Bank Staff

and Board Members to whom the Consent Order was delivered in accordance with

Paragraphs 10 and 11 and acknowledgements for Relevant Bank Staff and Board

Members who attended the trainings described in Paragraphs 12 and 13. As part of

the report, Ameris will provide a list of all persons and their titles to whom the

Consent Order was delivered and a list of Relevant Bank Staff and Board Members

who were required to attend the respective trainings. For the training described in

Paragraph 13, Ameris will also provide the United States with the total run time of

the live training(s) and all written training materials, including visual aids and

handouts presented in training.

      15.    For annual trainings for the term of this Consent Order, as part of its

reporting requirements in Section IV.C, Ameris will provide a report to the United

States that includes individual acknowledgements that each Relevant Bank Staff and

Board Member completed annual fair lending training(s) as required in Paragraphs

12 and 13 and a list of Relevant Bank Staff and Board Members who were required to

complete the training(s).

      16.    Ameris will notify the United States, in writing, of any proposed changes

to the third-party trainer, or material changes to the training curriculum(s) of the



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third-party trainer or the Director of Regulatory Compliance, and all changes are

subject to non-objection by the United States.

      17.    Ameris will provide any individual who becomes a Relevant Bank Staff

member or Board Member with a copy of the Complaint and Consent Order within

30 days of beginning the covered position, and will provide the individual with the

opportunity to ask questions, as discussed in Paragraph 11. No later than 45 days

after an individual becomes a Relevant Bank Staff or Board Member, Ameris will

provide a report to the United States that includes individual acknowledgements that

the Relevant Bank Staff or Board Member received a copy of the Complaint and

Consent Order and was given the opportunity to ask questions.

      18.    Any individual who becomes a Relevant Bank Staff member will,

within 60 days of beginning the covered position, receive the third-party training

discussed in Paragraph 12. No later than 90 days after the Relevant Bank Staff begins

the covered position, Ameris will provide the individual acknowledgements to the

United States that the Relevant Bank Staff completed fair lending training.

      19.    Ameris will bear all costs associated with the trainings.

D. Community Credit Needs Assessment

      20.    In 2022, Ameris commissioned a Community Credit Needs Assessment

for majority-minority census tracts in Jacksonville, which included analysis of those

tracts which are majority-Black and Hispanic census tracts in the Jacksonville




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 assessment area. A Community Credit Needs Assessment is a research-based market

 study to help a lender identify the needs for financial services in an area.

       21.    Within 14 days of the Effective Date, Ameris will ensure that the 2022

 Community Credit Needs Assessment is presented to all Ameris committees and

 employees responsible for overseeing fair lending compliance if they have not already

 been provided with a copy.

       22.    Within 60 days of the Effective Date, Ameris will submit a remedial

 plan that details, in light of the recommendations made in the Community Credit

 Needs Assessment, the actions that Ameris proposes to take to comply with the

 requirements of the Consent Order (e.g., physical expansion, loan subsidy,

 community partnerships, advertising, and outreach), including specific timeframes

 and implementations of these actions. The proposals within the remedial plan will be

 subject to non-objection by the United States.

 E. Director of Community Lending

       23.    Within 90 days of the Effective Date, Ameris will hire or designate an

 employee for the full-time position of the Director of Community Lending with the

 responsibility of overseeing the development of Ameris’ lending in majority-Black

 and Hispanic census tracts in the Jacksonville assessment area. Ameris will maintain

 this position throughout the term of the Consent Order. If a new Director of

 Community Lending is appointed at any time during the term of this Consent Order,

 Ameris will notify the United States in writing within 10 days of the staffing change.



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       24.        The Director of Community Lending will be a senior officer who reports

 to a member of the Bank’s executive team who, in turn, reports directly to Ameris’

 Chief Executive Officer. The supervising member of the executive team will be

 responsible for overseeing Ameris’ compliance with the Consent Order and will

 provide at least quarterly reports to Ameris’ Chief Executive Officer and the Board of

 Directors regarding the implementation and administration of all aspects of Ameris’

 compliance with the Consent Order and Ameris’ activities in the Jacksonville

 assessment area related to the following:

             a.    monitoring loan officers’ solicitation and origination of loans in

                   majority-Black and Hispanic census tracts, including the loan subsidy

                   fund described herein;

             b.    coordinating the Bank’s involvement in community lending initiatives

                   and outreach programs;

             c.    encouraging and developing more mortgage lending within majority-

                   Black and Hispanic census tracts;

             d.    promoting financial education;

             e.    providing financial counseling; and

             f.    building relationships with community groups.

 F. Physical Expansion in Majority‐Black and Hispanic Census Tracts

       25.        Subject to appropriate regulatory approval and considering the

 Community Credit Needs Assessment, Ameris will open or acquire one new full-



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 service branch located in a majority-Black and Hispanic census tract located north of

 the St. Johns River in the Jacksonville assessment area. The full-service branch will be

 in a retail-oriented space in a visible location and have signage that is visible to the

 general public. The specific site of the full-service branch will be subject to non-

 objection by the United States. Consistent with Ameris’ other full-service branches in

 the Jacksonville assessment area, the new branch will provide Ameris’ complete

 range of products and services, will maintain hours of operation consistent with the

 range of hours maintained at other Ameris branches in the Jacksonville assessment

 area, and will accept first-lien mortgage loan applications.

       26.       Ameris will make all reasonable efforts to open the new full-service

 branch within 24 months of the Effective Date. If Ameris fails to open the full-service

 branch within 24 months of the Effective Date, Ameris will provide to the United

 States a written proposal describing how it will comply with Paragraph 25. Ameris

 will maintain the new full-service branch for the term of this Order.

       27.       Additionally, Ameris will maintain its Normandy and Ortega branches

 for the term of this Consent Order. Consistent with Ameris’ other full-service

 branches, for the term of the Consent Order, the Normandy and Ortega branches will

 continue to provide Ameris’ complete range of products and services, will maintain

 their current hours of operation, and will continue to accept first-lien mortgage loan

 applications.




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       28.    Ameris will evaluate future opportunities for expansion within its

 Jacksonville assessment area, whether by merger, acquisition, or opening new

 branches or loan production offices, in consideration of the goals of this Consent

 Order and the Community Credit Needs Assessment. During the term of the

 Consent Order, Ameris will notify the United States of any plans to open or acquire

 any new branches within its Jacksonville assessment area at the same time that it

 notifies other regulators.

       29.    In 2022, Ameris hired two CRA mortgage bankers to serve its

 Jacksonville assessment area utilizing a competitive compensation structure. Within

 24 months of the Effective Date, Ameris will establish an additional CRA mortgage

 banker position with the same compensation structure. Upon hiring the third CRA

 mortgage banker, for the term of this Consent Order, Ameris will maintain no fewer

 than three full-time CRA mortgage bankers to solicit mortgage applications primarily

 in majority-Black and Hispanic census tracts in Ameris’ Jacksonville assessment area.

 These CRA mortgage bankers will not be precluded from also originating loans for

 applicants outside of majority-Black and Hispanic census tracts in the Jacksonville

 assessment area.

       30.    Once the full-service branch required by this Section has been

 established, Ameris will assign at least one mortgage banker or CRA mortgage banker

 to the branch for the term of this Consent Order.




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 G. Loan Subsidy Program

       31.   Ameris will invest a minimum of $7,500,000 in a loan subsidy fund with

 the goal of increasing credit for home mortgage loans, home improvement loans, and

 home refinance loans extended in majority-Black and Hispanic census tracts in its

 Jacksonville assessment area. No more than 25 percent of the loan subsidy fund may

 be used for home refinance loans.

       32.   Ameris will use the loan subsidy fund to subsidize home mortgage, home

 improvement, and/or refinance loans made to “qualified applicants.” A “qualified

 applicant” is anyone who:

             a. applies for a mortgage for a residential property located in a

                 majority-Black and Hispanic census tract in the Jacksonville

                 assessment area that will serve as the applicant’s primary residence,

                 or

             b. resides in a majority-Black and Hispanic census tract in the

                 Jacksonville assessment area and applies for a mortgage for a

                 residential property located in the Jacksonville assessment area that

                 will serve as the applicant’s primary residence.

       33.   Loan subsidies under the loan subsidy fund can be provided through any

 (or a combination) of the following means:

             a. originating a loan for a home purchase, refinancing, or home

                 improvement at an interest rate or points below the otherwise



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                  prevailing market interest rate or points offered by Ameris;

              b. down payment assistance in the form of a direct grant;

              c. closing cost assistance in the form of a direct grant;

              d. payment of the initial mortgage insurance premium on loans subject

                  to such mortgage insurance; and

              e. any other assistance measures approved by the United States.

       34.    Ameris may offer more than one or all of the forms of assistance listed

 in the paragraph above, but Ameris will offer qualified applicants the choice of at least

 two such forms of assistance from which they may select. The combined form of

 subsidies cannot exceed $20,000 per loan origination for qualified applicant(s).

       35.    No provision of the Consent Order, including any loan subsidy or

 equivalent program, requires Ameris to make any unsafe or unsound loan or to make

 a loan to a person who is not qualified for the loan based upon lawful,

 nondiscriminatory terms; however, Ameris may choose to apply more flexible

 underwriting standards in connection with its programs under this Consent Order.

 Ameris’ underwriting standards applied to residents of majority-Black and Hispanic

 census tracts must be no less favorable than the standards applied in majority-white

 census tracts.

 H. Community Development Partnerships

       36.    Ameris will spend a minimum of $120,000 per year (or $600,000 over

 the term of the Consent Order) on partnerships with one or more community-based



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 or governmental organizations to provide the residents of majority-Black and

 Hispanic census tracts in the Jacksonville assessment area with services related to

 credit, financial education, homeownership, and foreclosure prevention. Ameris will

 develop these partnerships in a manner consistent with achieving the goals of the

 Consent Order.

       37.    Within 180 days of the Effective Date, Ameris will submit a proposal to

 the United States describing how it will implement the requirements of Paragraph 36.

 The proposal will include an explanation of its proposed partner(s). The proposal

 should also describe, to the extent available, Ameris’ plans to implement the

 partnership(s), as well as a description of how the partnership(s) will be used to meet

 the credit needs identified in the Community Credit Needs Assessment. The proposal

 will be subject to non-objection by the United States.

       38.    Ameris will evaluate the partnership(s) outlined in Paragraph 36

 annually, including by considering the Community Credit Needs Assessment, in

 order to identify any needed changes to the program or to better assist residents of

 majority-Black and Hispanic census tracts in the Jacksonville assessment area in

 obtaining credit. Ameris will present a summary of its evaluation and any proposed

 changes to the United States as part of its annual reporting requirement under Section

 IV.C. Any proposed changes will be subject to non-objection by the United States.




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 I. Advertising, Community Outreach, and Consumer Education

       39.    Ameris will spend at least $180,000 per year (or $900,000 over the term

 of the Consent Order) on advertising, outreach, and consumer financial education,

 targeted to residents of majority-Black and Hispanic census tracts in the Jacksonville

 assessment area.

       40.    Within 180 days of the Effective Date, Ameris will submit an

 Advertising, Outreach, and Education Plan (“Outreach Plan”) to the United States

 detailing how it will spend these funds for the term of the Consent Order. The

 Outreach Plan will include an explanation of why Ameris selected certain

 approaches and community partnerships and to the extent available in advance of

 implementation, how Ameris’ advertising, community outreach, education, and

 credit counseling initiatives will meet the credit needs identified in the Community

 Credit Needs Assessment. The Outreach Plan will be subject to non-objection by the

 United States. If the United States objects to any portion of the Outreach Plan,

 Ameris will make revisions and resubmit its proposal within 30 days of receiving the

 United States’ written objection. Ameris will begin implementation of its Outreach

 Plan within 30 days of receiving written non-objection from the United States.

       41.    Ameris will evaluate the strategies outlined in its Outreach Plan

 annually, including by considering the Community Credit Needs Assessment, to

 identify any changes necessary to better assist residents of majority-Black and

 Hispanic census tracts in its Jacksonville assessment area in obtaining credit. Ameris



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 will present a summary of its evaluation and any proposed changes to the United

 States as part of its annual reporting requirement under Section IV.C. Any proposed

 changes will be subject to non-objection by the United States.

         i.   Advertising

       42.    Ameris will advertise its residential loan products to majority-Black and

 Hispanic census tracts in its Jacksonville assessment area and will target advertising

 to generate mortgage loan applications from qualified applicants in these census

 tracts. Ameris’ advertising may include print media, radio, digital advertising, social

 media, television, direct mail, billboards, and any other appropriate medium to which

 the United States does not object. These advertisements must include similar

 information to other advertisements by Ameris. Ameris must advertise its mortgage

 lending services and products to majority-Black and Hispanic census tracts in its

 Jacksonville assessment area at least to the same extent that it advertises its mortgage

 lending services and products to majority-white census tracts in its Jacksonville

 assessment area.

       43.    Ameris will create point-of-distribution materials, such as posters and

 brochures, targeted toward majority-Black and Hispanic census tracts, to advertise

 products and services. Ameris will place or display these promotional materials in its

 branch offices in and around majority-Black and Hispanic census tracts.

       44.    All of Ameris’ print advertising and promotional materials, as described

 in paragraph 43, referencing residential mortgage loans will contain an equal housing



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 opportunity logo, slogan, or statement. All radio or television advertisements will

 include an audible statement that Ameris is an “Equal Opportunity Lender” or

 “Equal Housing Lender.”

              ii.     Outreach

       45.      Ameris will provide at least six (6) outreach programs per year during

 the term of the Consent Order for real estate brokers and agents, developers, and

 public or private entities engaged in residential real estate-related business in

 majority-Black and Hispanic census tracts in the Jacksonville assessment area to

 inform them of its products and services and to develop business relationships.

       46.      To satisfy this outreach requirement, Ameris also may underwrite or

 sponsor non-profit events in support of the majority-Black and Hispanic census tracts

 in its Jacksonville assessment area that are related to building relationships within

 those areas and designed to generate applications for home mortgages.

             iii.     Consumer Financial Education

       47.      Ameris will develop a consumer financial education program designed

 to provide information, training, and counseling services about consumer finance and

 credit establishment to individuals in majority-Black and Hispanic census tracts in its

 Jacksonville assessment area.

       48.      Ameris will provide a minimum of eight (8) seminars per year, during

 the term of the Consent Order, targeted and marketed toward residents in majority-

 Black and Hispanic census tracts in the Jacksonville assessment area and held in



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 locations intended to be convenient to those residents. These seminars will cover

 credit counseling, financial literacy, and other related consumer financial education,

 to help identify and develop qualified loan applicants from those areas.

       49.      Ameris may develop and provide the consumer education seminars

 described in Paragraphs 47 and 48 in conjunction with the community-based or

 governmental organization with which Ameris partners as described in Section III.H.

       50.      Ameris may conduct the outreach programs and consumer education

 seminars described in Paragraphs 47 and 48 by hosting in-person events offered at a

 location reasonably convenient to the attendees or by hosting virtual events, but may

 not host all of the events for the year virtually. Within 60 days of the Effective Date,

 as part of the Outreach Plan described in Paragraph 40, Ameris will submit to the

 United States a list of its planned outreach programs and consumer education

 seminars for the first 12 months of the Consent Order. Beginning 12 months after the

 Effective Date, as part of its annual reporting requirement under Paragraph 53,

 Ameris will submit to the United States a list of its planned outreach programs and

 consumer education seminars for the upcoming year, specifying whether those events

 will be in-person or virtual, subject to non-objection by the United States. Should the

 Bank’s list of planned outreach programs or consumer education programs for the

 upcoming year change, Ameris will provide notice to the United States as soon as

 practicable.




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 IV.   EVALUATING AND MONITORING COMPLIANCE

 A. Record Retention

       51. Ameris will retain all records related to its obligations under this Consent

 Order and all activities to carry out this Order. The United States has the right to

 review and copy these records upon request, with at least 30 days advance notice

 provided.

 B. HMDA Data

       52. Every year during the term of this Consent Order, within 30 days of its

 submission of data to the Federal Financial Institutions Examination Council

 (“FFIEC”) in accordance with the Home Mortgage Disclosure Act of 1975

 (“HMDA”), 12 U.S.C. §§ 2801–2811, Ameris will provide this data to the United

 States in the same format, and using the same record layout.

 C. Annual Reports

       53.    Starting October 31, 2024, and each October 31 thereafter during which

 the Consent Order is in effect, Ameris will submit annual reports to the United States

 on its progress as of the preceding September 30 in complying with the terms of the

 Consent Order and associated plans and programs. The final report will be delivered

 to the United States at least 60 days prior to the expiration of the Consent Order. The

 reports will provide a complete account of Ameris’ actions to comply with the Consent

 Order, Ameris’ assessment of the extent to which each obligation was met, if Ameris

 falls short of its goals under the Consent Order, an explanation of why Ameris fell



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 short for any particular component, and recommendations for additional actions to

 achieve the goals set forth in the Consent Order and associated plans and programs.

       54.    The annual reports shall also include an accounting of all subsidies made

 and mortgage loans originated to date under the loan subsidy program described in

 Section III.G, including the following information: the HMDA LAR universal loan

 identifier for the subsidized loan; closing date; address of the property securing the

 loan; census tract location of the property securing the loan; ethnicity and/or race of

 the borrower; loan type; loan purpose; loan amount; loan subsidy amount; and loan

 subsidy type (i.e., down payment assistance, closing cost assistance, etc.). The annual

 reports will also indicate which of the loans benefitting from the loan subsidy fund

 were made to first-time homeowners.

       55.    Ameris will attach to its reports copies of training materials and

 advertising and marketing materials distributed under this Consent Order as well as a

 detailed list of outreach and education events. Ameris’ Fair Lending Committee will

 review and approve the reports.

       56.    If the United States raises any objections to a report, the Parties will have

 30 days to confer and resolve their differences. The Parties may mutually agree to

 additional time to confer, if necessary. If the Parties are unable to resolve their

 differences, either party may bring the dispute to the Court for resolution.

 D. Submissions

       57.    All material required by this Consent Order will be sent to the United



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 States by secure email or secure upload to the Department of Justice attorneys

 assigned to this matter: Jenna Raden (jenna.raden@usdoj.gov), Yohance Pettis

 (yohance.pettis@usdoj.gov), and Michael Kenneth (michael.kenneth@usdoj.gov).

 The United States will notify Ameris in writing if the assigned attorneys change.

       58.    Upon request by the Department of Justice attorney(s) assigned to this

 matter, the United States may request that Ameris submit materials required by this

 Consent Order by commercial overnight delivery service addressed as follows:

                     Chief, Housing and Civil Enforcement Section
                     Civil Rights Division
                     U.S. Department of Justice
                     150 M Street NE, 8th Floor
                     Washington, DC 20002
                     Attn: Ameris Bank, DJ# 188-17M-14


       59.     Unless otherwise advised, in writing, by Ameris, all material required

 of the United States by this Order will be sent by email to the recipients below at the

 identified email addresses. Such material includes notification of non-objection as

 contemplated, in this Consent Order. Ameris will notify the United States in writing

 if the assigned attorneys change.

       D. Jean Veta                                  Jody L. Spencer
       Nikhil Gore                                   Chief Legal Officer
       Covington & Burling                           Ameris Bank
       LLP One CityCenter                            3490 Piedmont Road NE
       850 10th Street NW                            Suite 1550
       Washington, D.C. 20001                        Atlanta, GA 30305
       jveta@cov.com                                 jody.spencer@amerisbank.com
       ngore@cov.com




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  V.   ADMINISTRATION

       60.    The requirements of this Consent Order will remain in effect for five (5)

 years, except as provided in Paragraph 61.

       61.    If, within five (5) years of the Effective Date, Ameris has not invested all

 money in the loan subsidy fund described in Section III.G, the Consent Order will

 remain in full effect until three (3) months after Ameris has invested all the money in

 the loan subsidy fund and has submitted a final report to the United States that

 demonstrates the fulfillment of this obligation.

       62.    Any time limits for performance may be extended by mutual written

 agreement of the Parties. Other modifications may be made only upon approval of the

 Court, by motion by any Party. If there are changes in material factual circumstances,

 the Parties will work cooperatively to discuss and attempt to agree to proposed

 modifications to the Consent Order.

       63.    If disputes arise about the interpretation of, or compliance with, the

 Consent Order, the Parties will endeavor in good faith to resolve any dispute before

 bringing it to the Court for resolution. If Ameris is in material non-compliance with

 any provision of the Consent Order or has a material failure to perform an act

 required by the Consent Order, the United States may move the Court to impose any

 remedy authorized by law or equity, including attorneys’ fees and costs.

       64.    Nothing in the Consent Order excuses Ameris’ compliance with any

 currently or subsequently effective provision of law or order of a regulator.



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       65.    Ameris will notify the United States of any development that may

 materially affect compliance obligations arising under this Order, including but not

 limited to, a dissolution, assignment, sale, merger, or other action that would result in

 the emergence of a successor company to Ameris; the creation or dissolution of a

 subsidiary, parent, or affiliate that engages in any acts or practices subject to this

 Order; the filing of any bankruptcy or insolvency proceeding by or against Ameris; or

 a change in Ameris’ name or main office address. Ameris will provide this notice as

 soon as practicable after the occurrence of such event or, if applicable, the full

 execution of a definitive written agreement with respect to such event.

       66.    Ameris will report any change in the information required to be

 submitted under Paragraph 65 as soon as practicable, but in any case, within 30 days

 after the occurrence of such change.

       67.    Within 10 days of the Effective Date, Ameris will:

              a. Identify all businesses for which Ameris is the majority owner, or

                  that Ameris directly or indirectly controls, by all of their names,

                  telephone numbers, and physical, postal, email, and Internet

                  addresses; and

              b. Describe the activities of each such business, including the products

                  and services offered, and the means of advertising, marketing, and

                  sales.




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        68.    This Order is binding on Ameris, including all of its officers, agents,

 servants, and employees who have actual notice of this Consent Order. If Ameris seeks

 to transfer or assign all or part of its operations to a successor or assign that intends

 to carry on the same or similar business, Ameris will obtain the written agreement of

 the successor or assign to obligations under the Consent Order as a condition of sale,

 merger, or other transfer.

        69.    The Parties agree that litigation is not reasonably foreseeable. If any

 party implemented a litigation hold to preserve information, the party is no longer

 required to maintain it. Nothing in this Paragraph relieves either party of any other

 obligations imposed by the Consent Order.

        70.    Ameris’ compliance with the terms of the Order shall fully and finally

 resolve all claims of the United States alleging that Ameris violated the FHA and

 ECOA, including claims for injunctive and equitable relief, monetary damages, and

 civil penalties. The Order does not release claims for practices not described in

 Section I of this Order, including claims that may be held or are currently under

 investigation by any federal agency, or any claims that may be pursued or actions that

 may be taken by any executive agency established by 12 U.S.C. § 5491, or the

 appropriate Federal Banking Agency, as defined in 12 U.S.C. § 1813(q), against the

 Bank, any of its affiliated entities, or any institution-affiliated party of it, as defined in

 12 U.S.C. § 1813(u), in accordance with 12 U.S.C. § 1818 or any other statute or

 regulation. The Order does not resolve or release any claims other than claims for

 discrimination.
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       71.    The Parties to this Consent Order will bear their own costs and

 attorneys’ fees.

        72.    The Court will retain jurisdiction over this civil action to enforce the

 terms of this Consent Order.



 SO ORDERED, this ____ day of            __________, 2023.



                                                __________________________________
                                                UNITED STATES DISTRICT JUDGE




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       The undersigned hereby apply for and consent to the entry of this Order:

 Respectfully submitted this 19th
                             _____ day of _________________________,
                                                 October             2023.

 For the United States of America:

 ROGER B. HANDBERG                             KRISTEN CLARKE
 United States Attorney                        Assistant Attorney General
 Middle District of Florida                    Civil Rights Division

  /s/ Yohance A. Pettis
 YOHANCE A. PETTIS                             CARRIE PAGNUCCO
 Deputy Chief                                  Chief
 Florida Bar No.: 021216                       LUCY G. CARLSON
 MICHAEL R. KENNETH                            Deputy Chief
 Assistant United States Attorney              JENNA A. RADEN
 Florida Bar No.: 44341                        Trial Attorney
 United States Attorney’s Office               DC Bar No.: 1724701
 Middle District of Florida                    Housing & Civil Enforcement Section
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 Tampa, FL 33602                               Washington, DC 20530
 Phone: (813) 274-6000                         Phone: (202) 305-5452
 Fax: (813) 274-6198                           Fax: (202) 514-1116
 Yohance.Pettis@usdoj.gov                      Jenna.Raden@usdoj.gov
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 Attorneys for United States of America


 For Ameris Bank:


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 Attorneys for Ameris Bank

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